         Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

FINDERS KEEPERS USA LLC,                  )
                                          )
            Plaintiff,                    )
                                          )
            v.                            )                 Civil Action No. 22-0009 (APM)
                                          )
U.S. DEPARTMENT OF JUSTICE,               )
                                          )
            Defendant.                    )
__________________________________________)

                        REPLY IN SUPPORT OF DEFENDANT’S
                     MOTION FOR A VIDEO PROCESSING SCHEDULE

       Defendant, the United States Department of Justice (the “Department”), by and through

undersigned counsel, respectfully submits this reply in support of its motion for an order

scheduling the processing of videotape responsive to Plaintiff’s outstanding Freedom of

Information Act (“FOIA”) request (ECF No. 17).

                               PRELIMINARY STATEMENT

       Plaintiff seeks to impose an onerous and unworkable video production schedule on

Defendant, effectively monopolizing the Federal Bureau of Investigation’s entire FOIA media

processing group and equipment and assuring that other FOIA requesters will be unable to obtain

responses to their FOIA requests in the order in which they were received. Plaintiff’s primary

basis for this demand for expedited processing is that, prior to the filing of this action, the FBI

denied Plaintiff’s expedited processing request and that now the FBI should be forced to produce

the video files essentially immediately. Plaintiff has not established that expedited processing is

appropriate in this case, and the Court should allow Defendant to process the video using its

proposed schedule.
          Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 2 of 8




                                  PROCEDURAL HISTORY

        On January 4, 2022, Plaintiff filed the Complaint. ECF No. 1. On March 4, 2022,

Defendant filed its Answer. ECF No. 10. On March 18, 2022, the Parties filed a Joint Status

Report. ECF No. 12. On April 18, 2022, the Court issued an Order granting Plaintiff’s Motion for

a Processing Order, ECF No. 13, as conceded in part. ECF No. 15. The Order provided, in part,

that the FBI is to:

        process Plaintiff’s FOIA request at a rate of 1,000 pages per month with the first
        production due in 30 days and productions thereafter every 30 days [. . .] provide
        Plaintiff all non-exempt responsive records at no cost to Plaintiff, and [. . .]
        implement Plaintiff’s prioritization and first process the enviroscan report and the
        photographs before processing the remaining documents, with the exception of the
        videotapes, which shall be the subject of a further order.

ECF No. 15. Subsequently, Defendant moved for, and was granted, a briefing schedule on the

issue of the processing of videotape responsive to Plaintiff’s FOIA request. ECF No. 16; Minute

Order of Apr. 22, 2022.

        On April 27, 2022, Defendant filed its Motion for a Video Processing Schedule. ECF

No. 17. On May 3, 2022, the Parties filed a Joint Status Report. ECF No. 18. On May 9, 2022,

Plaintiff filed its Opposition to Defendant’s Motion. ECF No. 19

                                          ARGUMENT

A.      THE COURT SHOULD CONSIDER THE FACTS, CIRCUMSTANCES, AND
        PRACTICALITIES

        The FBI maintains that it is appropriate and necessary for the Court to consider the facts,

circumstances, and practicalities facing FOIA staff in evaluating the proposed video processing

schedule proposed by Defendant. See, e.g., Middle E. Forum v. Dep’t of Homeland Sec., 297 F.

Supp. 3d 183, 185 (D.D.C. 2018) (courts in D.C. Circuit have considered the effect of other FOIA

requests when analyzing the burden on an agency of meeting deadlines for review and production




                                                 2
          Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 3 of 8




of FOIA material); Elec. Privacy Info. Ctr. v. Dep’t of Just., 15 F. Supp. 3d 32, 47 (D.D.C. 2014)

(denying plaintiff’s motion for preliminary injunction requesting immediate production of

documents pursuant to FOIA request, weighing the effect an injunction would have on other FOIA

requesters, and noting that agencies typically respond to FOIA requests on a “first-in/first-out”

basis unless a requestor shows a compelling need for expedition); Weisberg v. Dep’t of Just.,

745 F.2d 1476 (D.C. Cir. 1984), 745 F.2d at 1497 (a “tremendous FOIA backlog” can explain an

agency’s delay); Open Am. v. Watergate Special Prosecution Force, 547 F.2d 605, 615-16 (D.C.

Cir. 1976) (agency should process FOIA requests “on an equal and fair basis,” and should

generally handle “all requests on a first-in, first-out basis”).

        As previously noted, the FBI has been inundated by increasing numbers of FOIA

requests and litigation in recent years, on top of many other responsibilities. See, e.g., Am. Ctr.

for Law & Just. v. Dep’t. of Homeland Sec., Civ. A. No. 21-1364 (TNM), 2021 WL 5231939,

at *3-5 (D.D.C. Nov. 10, 2021) (discussing the history and burdens of FOIA). Devoting any

more of the FBI’s finite FOIA resources to Plaintiff’s request for videos would further reduce the

already constrained resources available to fulfill requests submitted by numerous other requesters.

        As described in the attached Second Declaration of Michael G. Seidel (“2d Seidel Decl.”),

the FBI instituted a policy of reviewing 30 minutes of audio, 15 minutes of video, and 500 high

quality photographs per month for release on CD or Digital Video Disc (“DVD”). 2d Seidel

Decl. ¶ 3. These established media processing rates are based on reasonable business practices

as well as a concern for fairness and efficiency due to a finite number of resources able to be

devoted to each matter. Id. ¶ 4. This policy derives from, and is the FBI’s effort to comply with,

the Department of Justice’s (the “Department’s”) FOIA regulations at 28 C.F.R. § 16.5(b)

(regarding prompt disclosure of responsive material upon payment of any applicable fees). Id.




                                                   3
          Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 4 of 8




Adherence to this policy is key to addressing the large influx of FOIA and Privacy Act requests

that require the processing of media. Id.

         The processing rates of FBI’s Record/Information Dissemination Section (“RIDS”) are

well researched, are based on sound statistical data, and enable RIDS to regularly release more

media to a larger section of the requester community in compliance with the Department’s FOIA

regulations. Id. RIDS conducted time studies to discover the typical amount of time it takes to

apply redactions and prepare media files for public release. Id. ¶ 17. Through this study, RIDS

found 15 minutes of video typically requires approximately 11 hours of processing time. Id.

RIDS found processing 30 minutes of audio typically requires about the same amount of time,

approximately 11 hours. Id. Additionally, RIDS found 15 minutes of video and 30 minutes of

audio presented appropriate, workable sizes for quality assurance reviews and reviews by external

subject matter experts. Id. Keeping media at this size allows RIDS media analysts to meet their

goal of providing media for approximately 10-15 different requests each month (this includes

audio, video, and high-quality photographs). Id. By processing media at these rates in interim

releases, RIDS is able to provide more media records to more requesters, each month. Id. ¶¶ 4,

8, 17.

         RIDS media production is complicated by the fact that only a few RIDS FOIA/Privacy

Act analysts possess the requisite technical training and FOIA knowledge necessary to

appropriately review and process media, and RIDS has a limited number of workstations with the

technical capability for processing media records. Id.; see also Seidel Decl. ¶ 11. Part of the

process in finalizing material for release involves information security. See 2d Seidel Decl. ¶ 5.

All FOIA and Privacy Act requests containing law enforcement records and media are processed

on a classified computer network. Id. Thus, when a CD is prepared for release after review and




                                                4
         Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 5 of 8




consultation, it also must undergo a multi-step information security review. Id. The running of

these security protocols, and resolving any issues that may arise, can require a significant amount

of effort and time. Id.

       Currently, RIDS has two qualified analysts who possess the requisite skills to process

media records. Id. ¶ 9. One of the two media analysts is a team lead and expert who reviews the

other media analyst’s work. Id. His own production efforts must stop to fulfill his concurrent

review duties. Id. Additionally, RIDS has approximately three analysts from the Digital

Conversion Unit available to conduct file conversions. The Digital Conversion Unit’s purpose is

to manage, consolidate, and operate the conversion of digitally captured and “digitally born” files

stored on various media types to requested file formats, to ease the accessibility and usability for

both investigative and administrative purposes. Id. ¶ 9 n.1.

       The analysts processing media records must possess legal knowledge of the FOIA and

Privacy Acts to appropriately review media records for responsiveness and invoke proper

withholdings pursuant to the exemptions afforded to federal agencies by FOIA and the Privacy

Act. Id. ¶ 10. Media records subject to FOIA and the Privacy Act often contain investigative

sensitivities requiring expert review by FBI investigative personnel or other subject matter

experts outside of RIDS. Id. ¶ 13. These analysts also must be technologically trained and adept

in addressing the obstacles posed by processing FBI media records. Id. ¶ 10. A CD/DVD

containing digital media also must undergo a multi-step information security review to move

information from the classified enclave to an unclassified, public release setting. Id. ¶ 14.

Specifically, RIDS personnel must first purge the media records of all metadata present within

the records. Id. This metadata can contain sensitive information concerning the FBI’s digital

security measures or the personal identifying information of FBI staff. Id. For video and audio




                                                 5
         Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 6 of 8




records, this takes about half the time accorded for the processing of the digital media (7.5

minutes for 15 minutes of video and 15 minutes for 30 minutes of audio). Id.

       Following this step, the media must undergo a final quality check by an expert media

reviewer. Id. One of the two media processing analysts acts as the expert media reviewer, thus

slowing the overall production processing. Id. This quality check requires the media expert to

review the video and audio, through a real-time playback of the media. Id. The running of these

security protocols, and resolving any issues that may arise, requires a significant amount of time

and effort which only increases as more media is added to an interim production. Id. After the

video media are converted to a digital format, RIDS’ media analysts then must review the material

to determine if release of the media would present harms under FOIA and Privacy Act

exemptions. Id. ¶ 16. If such harms are present, RIDS’ media analysts must redact exempt

material from the media. Id.; see also Seidel Decl. ¶¶ 19-22.

B.     PLAINTIFF HAS NOT SHOWN A COMPELLING NEED FOR EXPEDITION

       Significantly, the time that it has taken the FBI to begin production thus far should not

entitle Plaintiff to an expedited production schedule. Long v. Dep’t of Homeland Sec., 436 F.

Supp. 2d 38, 43 (D.D.C. 2006) (department’s failure to comply with the FOIA statutory deadlines

“does not establish plaintiffs’ right to expedited processing”). Indeed, plaintiff already has

obtained an expedited production schedule for documents. See 2d Seidel Decl. ¶¶ 6-7.

       In order to obtain expedited treatment of their FOIA request, Plaintiff must show a

“compelling need” for expedition. See 5 U.S.C. § 552(a)(6)(E)(i). A compelling need is

established if a person “primarily engaged in disseminating information” shows an “urgency to

inform the public concerning actual or alleged Federal Government activity.” See 5 U.S.C.

§ 552(a)(6)(E)(v)(ii).   “In determining whether requesters have demonstrated ‘urgency to




                                                6
          Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 7 of 8




inform,’ and hence ‘compelling need,’ courts must consider at least three factors: (1) whether the

request concerns a matter of current exigency to the American public; (2) whether the

consequences of delaying a response would compromise a significant recognized interest; and

(3) whether the request concerns federal government activity.” Al-Fayed v. CIA, 254 F.3d 300,

310 (D.C. Cir. 2001). The D.C. Circuit has explained that these factors must be narrowly applied

and that “[t]he public’s right to know, although a significant and important value, would not by

itself be sufficient to satisfy this standard.” Id. (quoting H.R. Rep. No. 104–795, at 26 (1996)).

        Here, Plaintiff is not a person “primarily engaged in disseminating information” within

the meaning of 5 U.S.C. § 552(a)(6)(E)(v)(ii). Rather, Plaintiff “is a lost treasure locate-and-

recovery service located in Clearfield, Pennsylvania.” See ECF No. 1 ¶ 4. Second, the request

for information about lost Civil War gold does not constitute a matter of current exigency to the

American public. Third, Plaintiff has not shown that the 15 months Defendant has requested to

produce the videos would compromise a significant, recognized interest. Thus, Plaintiff has not

met the prima facie elements to establish a compelling need for expedition of the videos. Indeed,

had there been a compelling need, Plaintiff could have filed the instant action earlier. Its delay

in initiating this action belies its claim of urgency.

        Thus, Defendant respectfully request that the Court provide that no more than 15 minutes

of video need be processed each month, beginning August 18, 2022.




                                                   7
         Case 1:22-cv-00009-APM Document 21 Filed 05/18/22 Page 8 of 8




                                      CONCLUSION

       Accordingly, Defendant respectfully requests that the Court enter the attached proposed

order governing media processing.

Dated: May 18, 2022                        Respectfully submitted,

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                                              8
